                Case 11-33117-AJC            Doc 37     Filed 11/14/12      Page 1 of 8


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

       In re: NAVARRO, HIOVANY                                        §    Case No. 11-33117-BKC-AJC
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Barry E. Mukamal, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $130,956.00                          Assets Exempt: $2,000.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$6,672.84             Claims Discharged
                                                       Without Payment: $132,158.47

 Total Expenses of Administration:$1,746.52


         3) Total gross receipts of $     8,419.36       (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $8,419.36
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
                Case 11-33117-AJC              Doc 37       Filed 11/14/12         Page 2 of 8



                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $282,123.42             $0.00              $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           1,746.52          1,746.52           1,746.52

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    117,439.00          62,376.31          62,376.31          6,672.84

                                          $399,562.42         $64,122.83        $64,122.83          $8,419.36
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on August 18, 2011.
  The case was pending for 13 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 10/12/2012                 By:/s/Barry E. Mukamal
                                                   Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
                                Case 11-33117-AJC                 Doc 37         Filed 11/14/12          Page 3 of 8




                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                  $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                              RECEIVED
     HOUSEHOLD GOODS AND FURNISHINGS                                                     1129-000                                     819.25

     2008 CHEVROLET SILVERADO                                                            1129-000                                    7,600.00

     Interest Income                                                                     1270-000                                        0.11


    TOTAL GROSS RECEIPTS                                                                                                            $8,419.36

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                               $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED            PAID
                                                       CODE                6D)
 NOTFILED         BBRT Mortgage                        4110-000             282,123.42            N/A                    N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $282,123.42                  $0.00             $0.00                 $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS           CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED            PAID
                                                       CODE
 Barry E. Mukamal                                      2100-000            N/A                      1,591.94            1,591.94           1,591.94

 Barry E. Mukamal                                      2200-000            N/A                          54.58             54.58                 54.58

 The Bank of New York Mellon                           2600-000            N/A                          25.00             25.00                 25.00




UST Form 101-7-TDR (10/1/2010)
                      Case 11-33117-AJC        Doc 37           Filed 11/14/12        Page 4 of 8

 The Bank of New York Mellon            2600-000          N/A                        25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                        25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                        25.00          25.00       25.00

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A                   $1,746.52      $1,746.52     $1,746.52
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS               CLAIMS             CLAIMS        CLAIMS
                                         TRAN.
                                                     SCHEDULED            ASSERTED           ALLOWED         PAID
                                         CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                        $0.00          $0.00       $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS               CLAIMS
   CLAIM                                             SCHEDULED            ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT               TRAN.        (from Form         (from Proofs of     ALLOWED         PAID
                                         CODE             6E)                 Claim)
                                                   None

 TOTAL PRIORITY UNSECURED                                        $0.00               $0.00          $0.00       $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM       CLAIMS               CLAIMS
   CLAIM                                             SCHEDULED            ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT               TRAN.        (from Form         (from Proofs of     ALLOWED         PAID
                                         CODE             6F)                 Claim)
      1    Discover Bank                7100-000           10,544.00            10,544.33      10,544.33      1,128.01

      2    Capital Recovery IV LLC      7100-000          N/A                   13,298.65      13,298.65      1,422.65

      3    Midland Credit Manangement   7100-000            8,283.00              8,816.76      8,816.76       943.19
           Inc.
      4    American Express Centurion   7100-000           10,430.00            10,430.84      10,430.84      1,115.86
           Bank
      5    Midland Credit Management    7100-000            1,468.00              1,477.96      1,477.96       158.11
           Inc.
      6    Midland Credit Management    7100-000          N/A                     2,943.57      2,943.57       314.89
           Inc.
      7    Capital Recovery IV LLC      7100-000            3,847.00              3,847.75      3,847.75       411.62

      8    Midland Credit Management    7100-000          N/A                     1,232.41      1,232.41       131.84
           Inc.
      9    Midland Credit Management    7100-000          N/A                     3,340.70      3,340.70       357.38
           Inc.
     10    Midland Credit Management    7100-000            3,698.00              3,727.94      3,727.94       398.80
           Inc.
     11    FIA Card Services N.A.       7100-000            1,775.00              1,775.51      1,775.51       189.94



UST Form 101-7-TDR (10/1/2010)
                        Case 11-33117-AJC       Doc 37     Filed 11/14/12     Page 5 of 8

     12     GE Capital Retail Bank       7100-000          939.00           939.89          939.89     100.55

 NOTFILED   Citifinancial Auto           7100-000        12,856.00    N/A                   N/A           0.00

 NOTFILED   Equable Ascent Finance       7100-000         3,848.00    N/A                   N/A           0.00

 NOTFILED   Citgo Citibank               7100-000         1,219.00    N/A                   N/A           0.00

 NOTFILED   Equable Ascent Finance       7100-000        12,127.00    N/A                   N/A           0.00

 NOTFILED   Citi                         7100-000        13,356.00    N/A                   N/A           0.00

 NOTFILED   HSBC                         7100-000         2,486.00    N/A                   N/A           0.00

 NOTFILED   Walmart                      7100-000          640.00     N/A                   N/A           0.00

 NOTFILED   Zwicker & Associates, P.C.   7100-000         1,200.00    N/A                   N/A           0.00

 NOTFILED   The Home Depot Processing    7100-000         6,808.00    N/A                   N/A           0.00
            Center
 NOTFILED   Sears                        7100-000         2,419.00    N/A                   N/A           0.00

 NOTFILED   Sears                        7100-000         7,444.00    N/A                   N/A           0.00

 NOTFILED   JC Penney                    7100-000          948.00     N/A                   N/A           0.00

 NOTFILED   Samantha A. Satish, Esq.   7100-000           1,250.00    N/A                   N/A           0.00
            Florida Default Law Group,
 NOTFILED   Chase                      7100-000           3,599.00    N/A                   N/A           0.00

 NOTFILED   American Express             7100-000             1.00    N/A                   N/A           0.00

 NOTFILED   Bank of America              7100-000         3,497.00    N/A                   N/A           0.00

 NOTFILED   Brands Mart                  7100-000         2,757.00    N/A                   N/A           0.00

 TOTAL GENERAL UNSECURED                             $117,439.00      $62,376.31      $62,376.31     $6,672.84
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
                                           Case 11-33117-AJC                     Doc 37          Filed 11/14/12                Page 6 of 8

                                                                                                                                                                                Exhibit 8


                                                                                    Form 1                                                                                      Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 11-33117-BKC-AJC                                                               Trustee:         (290830)       Barry E. Mukamal
Case Name:         NAVARRO, HIOVANY                                                         Filed (f) or Converted (c): 08/18/11 (f)
                                                                                            §341(a) Meeting Date:           09/26/11
Period Ending: 10/02/12                                                                     Claims Bar Date:                03/06/12

                                   1                                         2                          3                         4                 5                       6

                      Asset Description                                Petition/              Estimated Net Value             Property         Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled         (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                        Values              Less Liens, Exemptions,          OA=§554(a)         the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)             DA=§554(c)                          Remaining Assets

 1         485 EAST 46TH ST., HIALEAH, FL 33013                            130,851.00                           0.00           DA                         0.00                      FA
            Joint with non-filing party.

 2         CASH ON HAND                                                          20.00                          0.00           DA                         0.00                      FA

 3         OCEAN BANK A/N 4306                                                   30.00                          0.00           DA                         0.00                      FA

 4         HOUSEHOLD GOODS AND FURNISHINGS                                    1,800.00                       905.00                                     819.25                      FA

 5         WEARING APPAREL                                                       45.00                          0.00           DA                         0.00                      FA

 6         JEWLERY                                                               10.00                          0.00           DA                         0.00                      FA

 7         2008 CHEVROLET SILVERADO                                         10,000.00                       9,000.00                                 7,600.00                       FA
            Joint with non-filing party.
           GEICO; policy #4243588391; expires 03/21/12

 Int       INTEREST (u)                                                      Unknown                            N/A                                       0.11                      FA

 8        Assets      Totals (Excluding unknown values)                    $142,756.00                   $9,905.00                                  $8,419.36                    $0.00



       Major Activities Affecting Case Closing:

                   The Trustee has recovered the estate's interest in the scheduled assets equal to $8,419.25, court ordered 01/17/12.
                   Claims review complete. No tax return required.

       Initial Projected Date Of Final Report (TFR):      April 30, 2012                      Current Projected Date Of Final Report (TFR):       April 30, 2012 (Actual)




                 October 2, 2012                                                                     /s/ Barry E. Mukamal
            __________________________                                                               _________________________________________________________________
                            Date                                                                     Barry E. Mukamal




                                                                                                                                              Printed: 10/02/2012 12:08 PM       V.13.02
                                        Case 11-33117-AJC                  Doc 37            Filed 11/14/12                   Page 7 of 8

                                                                                                                                                                                 Exhibit 9


                                                                                 Form 2                                                                                           Page: 1

                                                   Cash Receipts And Disbursements Record
Case Number:         11-33117-BKC-AJC                                                                Trustee:            Barry E. Mukamal (290830)
Case Name:           NAVARRO, HIOVANY                                                                Bank Name:          The Bank of New York Mellon
                                                                                                     Account:            9200-******72-65 - Checking Account
Taxpayer ID #: **-***3137                                                                            Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 10/02/12                                                                              Separate Bond: N/A

   1            2                          3                                       4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                   T-Code              $                  $       Account Balance
12/13/11                 Hiovany Nararro                   Full settlement; court ordered 01/17/12                                    8,419.25                                   8,419.25
               {4}                                                                               819.25         1129-000                                                         8,419.25
               {7}                                                                             7,600.00         1129-000                                                         8,419.25
12/30/11       Int       The Bank of New York Mellon       Interest posting at 0.0100%                          1270-000                  0.04                                   8,419.29
01/17/12       Int       The Bank of New York Mellon       Interest posting at 0.0100%                          1270-000                  0.03                                   8,419.32
01/25/12                 The Bank of New York Mellon       Bank and Technology Services Fee                     2600-000                                       25.00             8,394.32
01/31/12       Int       The Bank of New York Mellon       Interest posting at 0.0100%                          1270-000                  0.04                                   8,394.36
01/31/12                 The Bank of New York Mellon       Bank and Technology Services Fee                     2600-000                                       25.00             8,369.36
02/29/12                 The Bank of New York Mellon       Bank and Technology Services Fee                     2600-000                                       25.00             8,344.36
03/30/12                 The Bank of New York Mellon       Bank and Technology Services Fee                     2600-000                                       25.00             8,319.36
06/11/12      1001       Discover Bank                     Dividend paid 10.69% on $10,544.33; Claim#           7100-000                                   1,128.01              7,191.35
                                                           1; Filed: $10,544.33; Reference: Claim
                                                           Reference}, court ordered fees 06/07/12.
06/11/12      1002       Capital Recovery IV LLC           Dividend paid 10.69% on $13,298.65; Claim#           7100-000                                   1,422.65              5,768.70
                                                           2; Filed: $13,298.65; Reference: Claim
                                                           Reference}, court ordered fees 06/07/12.
06/11/12      1003       Midland Credit Manangement Inc.   Dividend paid 10.69% on $8,816.76; Claim# 3; 7100-000                                              943.19             4,825.51
                                                           Filed: $8,816.76; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1004       American Express Centurion Bank   Dividend paid 10.69% on $10,430.84; Claim#           7100-000                                   1,115.86              3,709.65
                                                           4; Filed: $10,430.84; Reference: Claim
                                                           Reference}, court ordered fees 06/07/12.
06/11/12      1005       Midland Credit Management Inc.    Dividend paid 10.69% on $1,477.96; Claim# 5; 7100-000                                              158.11             3,551.54
                                                           Filed: $1,477.96; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1006       Midland Credit Management Inc.    Dividend paid 10.69% on $2,943.57; Claim# 6; 7100-000                                              314.89             3,236.65
                                                           Filed: $2,943.57; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1007       Capital Recovery IV LLC           Dividend paid 10.69% on $3,847.75; Claim# 7; 7100-000                                              411.62             2,825.03
                                                           Filed: $3,847.75; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1008       Midland Credit Management Inc.    Dividend paid 10.69% on $1,232.41; Claim# 8; 7100-000                                              131.84             2,693.19
                                                           Filed: $1,232.41; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1009       Midland Credit Management Inc.    Dividend paid 10.69% on $3,340.70; Claim# 9; 7100-000                                              357.38             2,335.81
                                                           Filed: $3,340.70; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1010       Midland Credit Management Inc.    Dividend paid 10.69% on $3,727.94; Claim#            7100-000                                      398.80             1,937.01
                                                           10; Filed: $3,727.94; Reference: Claim
                                                                                                      Subtotals :                   $8,419.36             $6,482.35
{} Asset reference(s)                                                                                                                         Printed: 10/02/2012 12:08 PM        V.13.02
                                       Case 11-33117-AJC                      Doc 37          Filed 11/14/12                 Page 8 of 8

                                                                                                                                                                                Exhibit 9


                                                                                 Form 2                                                                                          Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:        11-33117-BKC-AJC                                                                Trustee:            Barry E. Mukamal (290830)
Case Name:          NAVARRO, HIOVANY                                                                Bank Name:          The Bank of New York Mellon
                                                                                                    Account:            9200-******72-65 - Checking Account
Taxpayer ID #: **-***3137                                                                           Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 10/02/12                                                                             Separate Bond: N/A

   1            2                          3                                        4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From                 Description of Transaction                  T-Code              $                  $       Account Balance
                                                           Reference}, court ordered fees 06/07/12.
06/11/12      1011      FIA Card Services N.A.             Dividend paid 10.69% on $1,775.51; Claim#           7100-000                                      189.94             1,747.07
                                                           11; Filed: $1,775.51; Reference: Claim
                                                           Reference}, court ordered fees 06/07/12.
06/11/12      1012      GE Capital Retail Bank             Dividend paid 10.69% on $939.89; Claim# 12;         7100-000                                      100.55             1,646.52
                                                           Filed: $939.89; Reference: Claim Reference},
                                                           court ordered fees 06/07/12.
06/11/12      1013      Barry E. Mukamal                   COMBINED CHECK FOR TRUSTEE                                                                     1,646.52                  0.00
                                                           COMPENSATION, EXPENSES AND
                                                           INTEREST
                                                              Dividend paid 100.00%             1,591.94       2100-000                                                             0.00
                                                              on $1,591.94; Claim# ;
                                                              Filed: $1,591.94
                                                              Dividend paid 100.00%                 54.58      2200-000                                                             0.00
                                                              on $54.58; Claim# ;
                                                              Filed: $54.58

                                                                                 ACCOUNT TOTALS                                      8,419.36             8,419.36                $0.00
                                                                                          Less: Bank Transfers                           0.00                  0.00
                                                                                 Subtotal                                            8,419.36             8,419.36
                                                                                          Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                      $8,419.36             $8,419.36

                              Net Receipts :          8,419.36
                                                 ————————                                                                             Net             Net                   Account
                                Net Estate :         $8,419.36                   TOTAL - ALL ACCOUNTS                               Receipts     Disbursements              Balances

                                                                                 Checking # 9200-******72-65                         8,419.36             8,419.36                  0.00

                                                                                                                                   $8,419.36             $8,419.36                $0.00




{} Asset reference(s)                                                                                                                        Printed: 10/02/2012 12:08 PM        V.13.02
